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\, 1 vii '.,;K\z%:';:":`f:}f §§ s

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Debbie P. Kirkpatrick, Esq. (SBN 207112)
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1545 Hotel Circle South, Suite 150

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Fax: 619/296-2013

alimberg@sesssons-law.biz

dkirl<patrick@sessions-law.biz

Attorney for NCO Financial Systems, Inc.,

UNITED STATES DIST,RICT COURT
CENTRAL DISTRICT OF CALIFORNIA

JoHNJACoBs, * - §§;Y§§@z §@§ §§ MWF (5€@/\

 

 

 

 

 

 

Plaintiff» NoTiCE oF REMovAL oF ACTioN
VS~ UNDER 28 U.s.o. § 1441
Nco FINANCIAL sYsTEMs, iNC., , 131;;%5;¥§‘1;6 T wm T
DOES 1 through 10, inclusive, CL‘E"RK’ U'”" v `
Defendants. SEP 1 3 2013
' CENTHAL D|STFNC~T OF CAL|_F§` RI\HA
BY L)i: )U 1 Y

 

 

TO THE CLERK OF THE ABOVE~ENTITLED COUR :

PLEASE TAKE NOTICE THAT defendant NCO Financia1 Systerns, lnc.
("NCO") hereby removes to this Court the state court action described below.

1. This action is a civil action of Which this Court has original jurisdiction
under 28 U.S.C. § 1331, and is one Which may be removed to this Court by defendant
pursuant to the provisions of 28 U.S.C. § 1441 in that it arises under the Fair Debt

Collections Practices Act, 15 U.S.C. §1692, et. seq.

Notice of Removal of Action

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Case 2:13-cV-06822-|\/|WF-.]CG Document 1 Filed 09/16/13 Page 2 of 16 Page |D

2. On or aboutAugust 13, 2013 the action Was commenced in the Superior
Court of the State of California, County of Los Angeles, entitled, John Jacobs v. NCO
Fz'nancz'al Sysz‘ems, [nc., Case No. 13K11225. A copy of the Plaintift’s Summons and
Complaint (“Complaint”) is attached hereto as EXhibit A.

3. The date upon Which NCO first received a copy of the said complaint Was
August 14, 2013, When NCO’s agent for service of process Was served With a copy of the
Complaint. This Notice of Removal is timely as it Was filed Within thirty (30) days from
the date at Which NCO had notice that the action Was removable, and less than a year
after the commencement of the state court action. See 28 U.S.C. § 1446.

4. The Superior Court of California for the County of Los Angeles,. is located
Within the United States District Court for the Central District of California, thus venue
is proper in this Court because it is the “district and division embracing the place Where
such action is pending.” 28 U.S.C. § 1441(a).

5. ln compliance With 28 U.S.C. Section 1446(d), NCO Will serve on Plaintiff
and .Will file With the Clerk of the Superior Court’, a “Notice to the Clerk of the Superior
Court and To Adverse Parties of Filing of Notice of Removal of Civil Action to Federal
Court.” k

6. No previous application has been made for the relief requested herein.

7. No other party except NCO Was named as a defendant in the Complaint

WHEREFORE, NCO Financial Systems, Inc., respectfully removes this action
from the California Superior Court for the County of Los Angeles to the United States

Notice of Removal of Action

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Case 2:13-cV-O6822-|\/|WF-.]CG Document 1 Filed 09/16/13 Page 3 of 16 Page |D

District Court, Central District of Califomia, pursuant to 28 U.S.C. §§ 1331, 1441, and
1446.
Dated: 9/12/13 SEssloNs, FlsHMAN; NATHAN & lsRAEL, L.L.P.

Attorney for.Defen an
NCO Financial Systems, lnc.

 

Notice of Removal of Action

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Case 2:13-cV-O6822-|\/|WF-.]CG Document 1 Filed~09/16/13 Page 4 of 16 Page |D #:6

Exhibit A

 

Case 2:13-cV-O6822-|\/|WF-.]CG Documentl Filed 09/16/13 Page$of 16 Page

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Paul Mankin, Esq. _(SBN 264038) y LOS A"Qe'€$ Superior Coi
'I`he Law Ofi`ice of L. Paul Mankin y _` ‘

8730 wilshire Bivd., suite 310 ‘ iilev l :. 10 .t<
Beverly Hills, CA 90211 . _

Phone: (800) 2 19-3 577 ‘ -*¢"'1\/~~ -"Ilicark’c‘ f:'.;\uw§:;_om¢-..-,.»i im
Fax: (323) 207-3885 *‘_.\/M; hew

Dmankin@r)aulmankin.com

www.gaulmankin.com
Attomey for Plaintiff

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNT'Y OF LOS ANGELES
LIMITED JURISDICTION

CaseNO. 13K].1225

) COMPLAINT FOR VIOLATION
JOIIN JACOBS, ) OF FEDERAL FAIR DEBT

) COLLECTION PRACTICES ACT
Plaintiff, _
(Amount not to exceed $10,000)
vs.
' 1. Violation of Fair Debt Collection
NCO FINANCIAL SYSTEMS, INC.; and . Pmcticcs Act

DOES 1 through 10, inclusive,

Det`endant. »

 

I. INTRODUCTION

l. This is an action for damages brought by an individual consumer for Defendant’s
violation of the Fair Debt Collection Practices Act, 15 U.S.C. §1692, et seq (he'reinafier
“FDCPA”), which prohibits debt collectors from engaging in abusive, deceptive, and unfair

practices

Complaint ~ l

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H. PARTIES

2. Plaintift`, .lohn lacobs (“Plaintifi”), is a natural person and is an “consumer" as
defined by the FDCPA, 15 U.S.C. §1692a(3).

3. At all relevant times herein, Dcfondant, NCO Financial Systems,‘ Inc.
(“Defendant”) was a company engaged, by use of the mails and telephone, in the business of
collecting a debt from Plaintiff which qualifies as a “debt,” as defined by 15 U.S.C.
§l692(a)(5). Defendant regularly attempts to collect debts alleged to be due an’other, and
therefore is a “debt collector” as defined by the FDCPA, 15 U.S.C. §l692(a)(6).`

4. Plaintiff does not know the true names and capacities, whether corporate,
parmership, associate, individual or otherwise, of Defendants sued herein as Does 1 through 10,
inclusive, and therefore names said Defendants under provisions of Seotion 474 of the
California Code of Civil Procedure.

5. Plaintiff is informed and believes, and on that basis alleges that Defendants
Does 1 through 10 are in some manner responsible for acts, occurrences and transactions set
forth herein and are legally liable to Plainttt`f.

k lIl. FACT‘UAL ALLEGATIONS

6. At various and multiple times prior to the filing`of` the instant complaint,
including within the one year preceding the filing of this complaint, Defendant contacted
Plaintiff in an attempt to collect an alleged outstanding debt with respect to accounts 1W3DPV,

77010551, & 81618465.

7. Plaintiff became extremely ill and incurred medical bills which are the source of

the alleged debt

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8. Defendant has placed calls,`to Plaintiff on a daily basis for approximately one

year in its attempts to collect on the alleged debt.

9. Plaintiff has received an average of two to three telephone calls each day from
Defendant.
10. Defendant has even, on occasion, called as much as four times in a single hour,

knowing full well that Plaintift` is in poor health and under great strain.
11. Plaintiff has asked Defendant mu1tiple times to stop its incessant collection calls,
but Defendant has continued its efforts completely undeterred by Plaintift"s entreaties.

l

12. , Defendant’s conduct violated the FDCPA in multiple ways, including but not

limited to:

a) Engaging in conduct the natural consequence of which is to harass, oppress, or
abuse Plaintiff`(.§ 1692d);

b) Communicating with a consumer in connection with the collection of a debt at
any unusual time or place or a time or place loiown to be inconvenient to the
consumer without prior consent (§ ~1692<:(31)(1));

c) Causing a telephone to ring or engaging any person in telephone conversation
repeatedly or continuously with intent to annoy, abuse, or harass any person at

the called number (§ l692d(5));

d) Causing a telephone to ring repeatedly 'or continuously to annoy Plaintiff (Cal
Civ Code §1788.1 l(d))',

e) Connnunicating, by telephone or in person, with Plaintiff with such frequency as

to be unreasonable and to constitute a harassment to Plaintiff under the
circumstances (Cal Civ Code § 1788.1 l(e)).

13. As a result of the above violations of the FDCPA, Plaintiff suffered land
continues to suffer injury to Plaintiff"s feelings, personal humiliation, embarrassment, mental
anguish and emotional distress, and Defendant is liable to Plaintiff for Plaintiff’s actual

damages, statutory damages, and costs and anomey’s fees.

Comp\aint - 3

 

 

Case 2:13-cV-06822-I\/|WF-.]CG Document 1 Filed 09/16/13 Page 8 of 16 Page |D #:10

 

 

 

l COUNT I: VIOLATION ()F FAIR DEBT
2 COLLECTION PRACTICES ACT
3 14. Plaintiffreincorporates by reference all of the preceding paragraphs
4 PRAYER FOR RELlEF
5 WHEREFORE, Plaintit’t` respectfully prays that judgment be entered against Det`endant
6 . _
for the following
7 .
8 A. Actual damages;
B. Statutory damages;
9 C. Costs and reasonable attomey’s fees; and,
m D. For such other and further relief as may be just and proper.
11
12 PLAINT!FF HEREBY g§QUEsTs A TRIAL BY JURY
‘3 Respectwuy submitted this Augusi 5, 2013.
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l By: n ;LC ¢-""__\ \~'
6 Paul Mankin, E`.sq.
17 Law Office of L. Paul Mankin
Attomey for Plaintit`t`
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Comp|aint - 4

 

 

 

 

Case 2:13-cv-O6822-|\/|WF-.]CG Document 1 Filed 09/16/13 Page 9 of 16 Page |D #:11

 

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NOT!CE TO DEFENDANT: ‘ ~.-ot|r’;`
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JOHN JACOBS,

 

 

NOT'lCEl Vou have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
bolow. »
You have 30 CALE NDAR DAYS after this summons and legal papers are served on you to tile a written response at this court and have a copy
served on the piaintiit. A letter or phone call will not protect you, Yourwritten response musl be in- proper legal form ii you want the court to hear your
cose. There may be a court form that you can use for your response You can iind these court forms and more lniormat)on et the Calrtcmra Couns
Oniine Self-Help Center (www.courtinfo.ca.gov/salfheip). your county law |it)rary. orthe courthouse nearest you. lt you cannot pay the niing fee. ask
the court clerk for a fee waiver form. rf you do not me your response on ilme, you may lose the case by default and your wages money. and property
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Thcrc arc other legal rcquircmonta. You may want to call on ottomoy right away. if you do'noi know an attomey, you may want to call nn attorney
referral servicel |f you cannot afford an atiomey. you may be eligible for free legal servlces from a nonprofit legal services program ¥ou can locate
these nonprofit groups at the Caiifomia Legal Services Web site (www.iawhelpca/ifomia.org). the Caiifomia Courts Online Seif-Help Cenler
(www.oourfinlo.ca.gov/selmo/p). orby contacting your local court or county bar association NQTE: Tha court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil wsa. The courts lien must be paid before the court will dismiss the mse.
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conlinuacion.

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mem NOT|CE TO THE PERSON SERVED: You are served
1. [:I as an individual defendant
A UG l 3 2. |:_`_] as the person sued under the nctiiious name of (spacify):
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3_ l:] on behalf ot (specify):

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(Amount (Amount
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exceeds $25,000) $25.000 or less) (Cai. Rules of Court. rule 3.402) hFPT~

Ifems 1-6 below must be completed (see instructions on page 2).

1. Check one box below for the case type that best describes this case:
Auto Tort Contract ' Provlsionally Complex Clvll thlgatlon

 

 

 

 

 

 

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Em hyment Pemk’n mc arbitration award (` n § Othor petition (nof specified abovo) (43)
i Wrongful termination (36) i:i Writ of mandate (02)
[::] other employment usi l::] other judicial review (so)

 

 

2. Thls case i:] is i::i ienot complex under rule 3.400 of the California Ruies of Court. lt the case is complex. mark the
» factors requiring exceptional judicial management
a. m Large number of separately represented parties d. m Large number of witnesses
b. i::i Extenslve motion practice raising difficult or novel e. [:i Coordinafion with related actions pending in one or more courts
issues that will be time'consuming to resolve in other oounties. Stat%. or countites. or in a federal court
c. i::i Substaniial amount of documentary evidence f. i:i Substantial postjudgment judicial supervision

3. Remedies sought (check all that apply): a.E'r_nonetary b.- nonmonetary; declaratory or injunctive relief c. [:punitive
4. Number of causes of action (speci‘fy): l

5. This case i:] is is not a class action suit.

6 if there are any known related cases. die and serve a notice of related case. (You may use form CM015.)

 

Dafe: IMay 231 2013 l

Paul Mankm, Esq. ~ y b <Z,AN“_\

(TYPE OR PR|NT NAME) {SiGNATURE DF PART¥ OR AYTORNEY FOR PAR`W)

 

   
   

NOTiCE
e Pleintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
under the Probate Code, Famlly Code, or Weifere and institutions Code). (Cal. Ruies cf Court, rule 3.220.) Fai|ure to file may result

in sanctions _
' Flle this cover chest in addition to any cover sheet required hy local mud rule

¢ if this case is complex under rule 3.400 et seq. of the Cal|fomia Ruies of Court, you must serve a copy of this cover sheet on ali

~ other parties to the action or proceeding ‘ _
¢ Unless this is a collections case under rule 3.740 or a complex case. this cover sheet will be used for statistical purposes onpla. m

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lNSTRUCleNS GN HOW `l`O COMPLETE THE COVER SHEET

CM~010

To Plaintlffs and Others Flllng First Papers. lf you are filing a lirst paper (for example, a complaint) in a civil caoe, you must
' complete and iiie, along with your lirst ppper, the Clvll Case Cover Sheel contained on page ll This information will be used to compile
statistics about the types and numbor§'of cases liled. You must complete items 1 through 6 nn tile sheet in item l, you must check
one box for the case type that bestédescribes the case. if the case fits both a general and a more specific type of case listed in |tem i.
check the more specific one. if tire case has multiple causes of action. check the box that best indicates the primary cause of action
To assist you in completing tne'€§heet, examples of the cases that belong under each case type in item t are provided boiow. A cover

sheet must be nled only wlih'“`§our initial paper. Failure to mo a cover sheet with tha first
its counsel, or both to sanctions under rules 2.30 and 3.220 of the Califomla Rules of Co

paper filed in a civil case may subject a party,

To Parties ln Rule 3;740 Colloctions Caaes. A "colleotions case" under rule 3.740 is defined as an action for recovery of money
owed in a sum st ed to be certain that ls not more than $25.000. exclusive of interest and attorney‘s fees, arising from a transaction in
which property!..;s`ervicea, or money was acquired on credit A collections case does not include an action seeking the following (1) tort

damages.

 

_:`(2_)»' punitive damages, (3) recovery al real property, (4) recovely of personal property. Ol' (5) a prejudgment writ'of

attracth .’ The identification of a case as a rule 3.740 collections case on this form means that lt will be exempt from the general

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To"Partles in Cornpiex Cases. ln complex cases only. parties must also use the Civil Case
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unless a defendant nles a responsive pleadingl A rule 3.740 collections
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ules of Court, this must be indicated by

completing the appropriate boxes in ltams 1 and 2. if a plaintiff designates a case as complex, the cover sheet must be served with the

complaint on all parties to the action. A defendant may
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Autn 'l`ort . 4

Aulo (22)~Personal ln)urylProperty

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Olher Professlcnai Health Care
Malpractl::e

Other Pl/PD/WD l 23)

Premlses liability (e.g.. slip
and fall)

intentional Bodily lnjurylPD/WD
(e.g., assault vandalism)

intentional infliction of
Emotlnnal Distress

Negligent infliction of
Emotional Distress

Othor Pl/PD!WD

Non»PilFD/WD (Other) Tort
Business Tortlunfair Business
Praotioa (07)

Civll nghts (e.g., discrimination
false arrest) (rrot clvll
harassmanl) (OB)

Delar(t:%tion (a.g.. slander, libel)

Fraud (iGl
intellectual Property (19)
Profeas'lonal Negligsnce (25)
Legal Malpractloe
Otlier meesstonal tvlalpractice

CASE TYPES AND EXAMPLES
Oorstract

Breacn of Coniract/Wairanty (06)
Broach of Rental/Lease
Contradt (nol unlawful detainer
or wrongful evlcllon)
Ccntraot/\lilarranty Breacli~Sellar

Plalntlff (not fraud ornag/Igencs)

Neglloer\t firearm of Coniractl
Weimanty
Othor Dmaoh of Contraot/Warmnty
Coilectlons (e.g., money owed. open
book aocounts) (09)
Collectlon Case-Seller Plalntilf
Othoé Promlssorv NotefCollections
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insurance Coverage (not provisionally
complex) (t8)

Auto $ut)rogatlon
other Covorago

Ottier Contract (37)
Conlractual Fraud
Othar Conlract Dlspule

Raal F*mparty

Emlnent Dornain/lnverse
Condemnation (14)

Wrongful Eviolion (33)

Dther Real Pmperty (a.g.. quiet title) (26)
Wrii or nassession of neal Pmperty
Mortgage l=oneclosure
Ctuiei Tltle
Otner Real Prnperty (not arn/nam
domaln, landlord/lenanl‘. or
foreclosure)

Unlawful Detalnar

Commarcial (31) _

Residential (32) '

Drugs (38) (if the case involves illega
dmgs, check lhls llem,' oih envise(
report as Commerclal or Rasldenlial}

Judicial Revlaw

Aeoot For_felturo (05)

Petillon Re: Arbiiratlon Award (i t)

Writ of Mandale (02)
Writ-Admlnistrative Mandarnus
Writ~»Mandamus on Limlted Court

file and serve no later than the time of its first appearance a Jolrider in the
is not complex, or, il the plaintiff has made no designation a designation that

Pro\rl:slono||y Compisx §§in thigal|cm (Cul,
4Rules of Court Rules 3.4nii»3.4t13)

Anlllrusl/Trade Regulatlon (03)
Construction Detect (iO)
Clairne involving Mass ‘l‘ort (40)
Securitias Litlgatlon (28)
Environmantal/Toxlo Tort (30}
lnsuranoe Ooverage Clalm§
(arls/ng from provisionally complex
oaao type listed above) (-41)

Enforoement of Juclgmem

Enforcemont of Judgment (20)
Absimot of Judgmenl (Oul of
County)

Conlession of Judgmenl (non-
domestlc rolallons)

Sister State Judgment

Admlnistrative Agenoy Award
(rrol unpaid taxon)

petition/Cartilicalion of Entry of
Judgment on Unpald Taxes

Othe;£aESr;forcement of Judgment

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RlCO (27)
Other Corn taint not s ‘ned
above)p(42) ( m
Declarotory Rellef Only
injunctive FtellefOnly (rion'
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Mechanlcs Llen

Olher Cammarcial Complalnt
case (rion-zorz/non-complex}

Other Civit Complalnt
(nan-rort/non-oomplex)

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Partnershin and Corporate
Govarnance (21)

Other Petitlon (not spaclfied
above (43)
Civi| arassment
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E p`Otlwrir~‘lt<)r)~l¢'llPD/WD Tort (35l writ-other united court case e"@;l;§' Re"ef F'°m me
m °Ym€* ` _ Review Oiher Clvll F‘etltion
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Commlssloner Appeals

 

CM-UlO [an» July \. 20371

CN|L CASE COVER SHEET

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l l declare under penalty of perjury under the laws of the State of California that the

 

lase 2:13-CV-06822-I\/|WF-.]CG Dooument 1 Filed 09/16/13 Page 12 of 16 Page |D

CASE NAME: John Jacobs v. NCO Financial Systems, lnc.
CASE NO: 4 TBD ' '

PROOF OF SERVICE

1, the undersigned, hereby certify th_at 1 am a citizen of the United States, over the age of
18 years and not a ar% to the Within action; my business address is 1545 Hotel Circle
South, Suite 150, an iego, California 92108. l served the following:

Notice of Removal of Action Under 28 U.S.C. § 1441
(X )'BYU.s.MAiL 4

- I served a true and correct copy of the above-named documents by mail by lacing
the same in a sealed envelope With.p_osta e fully prepaid, and depositing said enve ope in
tube Ui:§. mail at San Diego, California. aid envelope(s) Was/Were addressed as listed -

erea er: _ t

( ) BY FACSIMILIE MACHINE

I caused to be transmitted by facsimile machine a true cop_y of the above-named
documents to the below listed. Attaehed hereto is the Conf'irmation Report confirming
the status of the transmission

( ) BY PERSONAL SERVICE

l caused to be served by hand a true copy of the above named document as listed
hereafter. '

( ) n BY COURT’S CM/ECF ELECTRGNIC FILING SERVER

1 served on the interested parties in this action~t_hrough their attorney’s, as stated
beloW, Who have agreed to accept electronic service in this matter, by electronically filing
and serving said documents via the Court’s CM/ECF electronic filing server.

Paul Mankin, Esq.

LaW fo`ice of L. Paul Mankin, IV
8730 Wilshire Blvd., Suite 310
Beverly Hills, CA 90211

foregoing is true and correct.'

Dai;@d; 9/i2/13 - - [1 Y\/\M\

Ann M. Coito

#Z 14

 

 

 

Case 2:13_,-0\{-\06852_2-|_\/1 F- CG Document 1 Fiied 09/16/13 Page 13 of 16 Page lD #:15
TEs DisTRlcT couRT, cENTRAL DisTRlcT oF cALiFoRNlA

  

 

 

 

 

\ 7 iii -~ clviL covER sHEET
l. (a) PLA|NT|FFS ( Check box if you are representing yourself m ) DEFENDANTS (Check box if you are representing yourself :| )
John Jacobs NCO Financia| S_ystems, inc.
(b) Attorneys (Firm Name, Address and Telephone Number. |f you (b) Attorneys (Firm Name, Address and Telephone Number. |f you
are representing yourself, provide same information.) are representing yourself, provide same information.)
Paul Mankin, Esq. (SBN 264038) Te|: 800-219-3577 Albert R. leberg, Esq. (SBN 211‘|10) Te|: 619-758~1891
The Law Office of L. Paul Mankin Sessions Fishman Nathan & |srae|, LLP
8730 Wi|shire Blvd., Suite 310 ' 1545 Hotel Circ|e South, Suite 150
Beverly Hil|s, CA 90211 ’ San Diego, CA 92108
ll. BAS|S OF JUR|SD|CT|ON (P|ace an X in One box On|y_) lll. ClTlZENSHlP OF PRlNClPAL PART|ES-For Diversity Cases On|y
~ - (P|ace an X in one box for plaintiff and one for defendant)
1. U,S, Government 3. Federa| Question (U.S. szen OfThiS State EF 1 §§ incorporated or Principai P|ace 'l):TIF 4 ll):E]F 4
P|aintiff Government Not a Party) °f Bus'"ess '“ th'$ State

CitlzenofAn°thefStatE ij 2 l:l 2 |ncorporatedandPrincipa|Place E 5 m 5
of Business in Another State

2. U.S.Governrnent []4. Diversity(lndicate Citizenship Citizen orSubjectofa _ ,
Forelgn Natlon ij 6 [:l 6

Defendant . 'ofPartiesinltem|ll) ` FOF€iQnCOUan m 3 |:| 3

 

 

|V. OR|GlN (P|ace an X in one box only.) 6 Mum_

1.0riginal ' 2.Removed from 3.Remanded from 4.Reinstated or S.TransferredfromAnother District
l:] Proceeding State Court [l Appe|late Court l::l Reopened [:l District (Speclfy) l:l litigation

 

V. REQUESTED |N COMPLA|NT: JURY DEMAND: Yes [: No (Check"Yes" only if demanded in complaint.)

CLASS ACT|ON under F.R.Cv.P. 23: [:l Yes No MONEY DEMANDED lN COMPLA|NT: $ unspecified

Vl. CAUSE OF ACT|ON (Cite the U.S. Civi| Statute under which you are filing and write a brief statement of cause. Do not citejurisdictiona| statutes unless diversity.)
15 U.S.C. § 1692, et seq. '

 

 

  
   

V|l. NATURE OF SUIT (P|ace an X in one box only).

   

     
         

             

   
        

    

 
   
     

     
  

 
  

   

           

      

     

   

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Reapportionment L'ablllt)' 465 Other g 510 Motions to Vacate
\:] 410 Ant;trust [:| 130 Mi||erAct ij 290 A||O_therReal [:l immigration Actions Sentence l:l 840Trad@m3'k
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[:| 460 Deporration ij Enforcementof 315 Airp,ane l:l 371 Truth in Lending |:1 540 Mandamus/orher [:} 863 DlWC/olww(405 (g))
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enced & Corrupt Org. [:l 151 Medicare Act [:l §;%§;sau|t, leel & Property Damage m 555 Prison Condition [:] 865 RS‘ (405 (g»
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E Loan(EXd`\/et`) ~ C°"nne em 870Taxes(US P|aintiffor
850 Securities/Com~ 153R f l:l 340 Marme Abpe`é|zg w 5RFE|F ` `»l:l Defendant) ' '
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[:] Ele€tm€"f Product Liabi|itv g uca lon [:] SeCUrlty Act

 

 

 

 

 

 

l=OR OFFlCE USE ONLY: Case Number: § ij in § § §§ § § §§

CV-71 (09/13) ClVIL COVER SHEET Page 1 of 3

 

 

Case 2:13-Cv-O6822-|\/|WF-.]CG Dooument 1 Fiied 09/16/13 Page 14 of 16 Page |D #:16

UN|TED STATES DlSTRlCT COURT, CENTRAL DlSTRlCT OF CALIFORNIA
ClVlL COVER SHEET

Vlll. VENUE: Your answers to the questions below wi|| determine the division of the Court to which this case will most likely be initially assigned. This initial assignment
is subject to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

 

 

 

 

 

 

Question A; Was this case removed from
state court?

Yes |:] No l.os Angeles Western
|f"nO, " 90 to Question B. if "yes," Check the [] Ventura, Santa Barbara, or San Luis Obispo We$tem
box to the right that applies, enterthe 5 h
corresponding division in response to l:] Orange out em
Question D, below, and skip to Section |X. E t

m Riverside orSan Bernardino as em

 

 

 

 

Question B: ls the United States, or one o
its agencies or employees, a party to this
action?

       

 

 

 

 

 

[:| Yes [:>I No
|f“no,“goto Question C. |f"yes,"checl<the l:l LOSA\'\Q€|€S l___l LOS Ang€le$ We$t€m
box t° the right t_h_at_ applies' enterthe Ventura, Santa Barbara, or San Luis Ventura, Santa Barbara, orSan Luis
corresponding division in response to m - l:l ~ Westem
Q t' D bl d k' t S t' |X Oblspo Oblspo
ues ion , eow,an si o ec ion .
p ij Orange [| Orange Southern
[:l Riversideor$an Bernardino [:| RiversideorSan Bernardino Eastern'
[:\ Other [:l Other Western

 

 

 

 

 

    

v indicate t e|ocationin w ich a
majority of plaintiffs reside:
lndicate the location in which a
majority of defendants reside:
indicate the location in which a
majority of claims aro

 

 

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C.Z. ls either of the following true? lf so, check the one that applies:

C.1. ls either of the following true? if so, check the one that applies:

|:] 2 or more answers in Column C [:l 2 or more answers in Column D

[:] only 1 answer in Column C and no answers in Column D E only 1 answer in Column D and no answers in Column C

Your case will initially be assigned to the
EASTERN D|VlSlON.
Enter "Eastern" in response to Question D, below.

Your case will initially be assigned to the
SOUTHERN DlVlSlON.
Enter "Southern" in response to Question D, below.

->

Your case will initially be assigned to the
WESTERN D|V|S|ON.
Enter "Western" in response to Question D below.

if none applies, answer question CZ to the right.

 

|f none applies, go to the box below. l

 

 

 

 

 

 
 

 

 

 

Western

 

 

   

 

 

ClV|L COVER SHEET Page 2 of 3

CV~71 (09/'\3)

 

Case 2:13-Cv-O6822-|\/|WF-.]CG Dooument 1 Fiied 09/16/13 Page 15 of 16 Page |D #:17
UN|TED STATES DlSTRlCT COURT, CENTRAL DlSTRlCT OF CAL|FORN|A

 

ClVlL COVER SHEET g
|X(a). lDENT|CAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? NO m YES
lf yes, list case number(s):
|X(b); RELATED CASES: Have any cases been previously filed in this courtthat are related to the present case? NO l:l YES

if yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:

(Check all boxes that app|y) :] A. Arise from the same or closely related transactions, happenings, or events,' or
l :] B. Call for determination ofthe same or substantially related or similar questions oflaw and fact; or
[:l C. For other reasons would entail substantial duplication of labor if heard by differentjudges; or

|::l D. involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

 

X. SlGNATURE OF ATTORNEY W\ .
ion sELF-REPRESENTED LiTiGANT)= J / / DATE- 6/ /.12 /
Notice to Counsel/Parties: The CV 71 ()S- 44) Civi| Cover Sh nd t e informationWein neither replace nor supplement the filing and service of pleadings or

other papers as required by law. This form, approved by the Judicial terence ofthe United t tes in September 1974, is required pursuant to Local Ru|e 3 1 is not filed
but' is used by the Clerk ofthe Court for the purpose ofstatistics, venue an i

  

ivi docket sheet (For more detailed instructions, see separate instructions sheet)

 

 

- Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

.A|| claims for health insurance benefits (Medicare) underTit|e 18, Part A, ofthe Social Security Act, as amended. Alsol

861 HlA include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C.1935FF(b))

862 BL A|| claims for "Black Lung" benefits under Title 4, Par't B, ofthe Federa| Coal Mine Hea|th and Safety Act of 1969. (30 U.S.C.

923)
863 D|WC All claims filed by insured workers for disability' insurance benefits underTitle 2 ofthe Social Security Act, as amended; plus

all claims filed for chi|d' s insurance benths based on disability. (42 U. 5 ..C 405 (g))
863 D'WW All claims filed for widows or widowers insurance benefits based on disability under Title 2 ofthe Social Security Act, as

amended (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed under Title 16 ofthe Social Security Act, as

v 864 SS|D amended

865 v RSl All claims for retirement (old age) and survivors benefits underi'it|e 2 of the Social Security Act, as amendedl

(42 U.S.C. 405 (g))

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CV-71 (09/13) ClVlL COVER SHEET Page 3 of 3

 

Case 2:13-Cv-O6822-|\/|WF-.]CG Dooument 1 Fiied 09/16/13 Page 16 of 16 Page |D #:18

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES IUDGES

This case has been assigned to District ]udge Mi€ha€l W. Fitzg€rald and the assigned
Magistrate ludge is lay C. Gandhi

 

The case number on all documents filed With the Court should read as folloWs:

cv13-6822 MWP (}CGX)

 

Pursuant to General Order 05~07 of the United States District Court for the Central District of

California, the Magistrate ]udge has been designated to hear discovery related motions.

All discovery related motions should be noticed on the calendar of the Magistrate ]udge.

Clerk, U. S. District Court

 

 

 

September 16, 2013 By C. Powers
Date Deputy Clerl<
N()TICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants ( if a removal action is

filed, a copy of this notice must be served on all plainti]jfs).

Subsequent documents must be filed at the following location:

Western Division l:| Southern Divis`ion l:] Eastern Division
312 N. Spring Street, G-8 411 West Fourth St., Ste 1053 3470 Twelfth Street, Room 134
Los Angeles, CA 90012 Santa Ana, CA 92701 Riverside, CA 925()1

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (08/13) NOTICE OF ASSIGNMENT TO UNITED STATES IUDGES

 

